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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                              Plaintiff,                 CASE NO. 18-190

10           v.                                            DETENTION ORDER

11   PRADYUMNA KUMAR SAMAL,

12                              Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14   there are no conditions which the defendant can meet which would reasonably assure the

15   defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is a citizen of India. He is charged with Visa Fraud. The government proffered

18   that defendant fled the country in February shortly after the government contacted individuals

19   regarding this criminal case. The government proffered that at the same time, defendant sold off

20   or liquidated his assets in the country and transferred them to India. There he renovated five

21   bedroom house, bought businesses and a luxury car. The government proffered that defendant

22   also took 401K contributions of former employees to India. In essence, the government proffered

23   defendant stole his employees’ funds. Defendant has prior misdemeanor history in this court.

24   His probation in that case was described as problematic and during the course of his probation an

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 1   arrest warrant was issued, and he was temporarily detained on allegations that he committed a

 2   new crime: theft. The theft was resolved when defendant paid the alleged victim the money that

 3   was at issue.

 4          The Court after considering all of the evidence concludes defendant has another country

 5   to flee to and the means to do so. He owns a home and businesses in India and has relatives that

 6   live there. Defendant poses a flight risk. The Court also concludes he poses a danger to the

 7   community. Although his lawyer argues defendant is charged with technical visa violations, the

 8   government paints a picture of an individual who has a long and consistent history of dishonesty

 9   and theft.

10          It is therefore ORDERED:

11          (1)       Defendant shall be detained pending trial and committed to the custody of the

12   Attorney General for confinement in a correctional facility separate, to the extent practicable,

13   from persons awaiting or serving sentences, or being held in custody pending appeal;

14          (2)       Defendant shall be afforded reasonable opportunity for private consultation with

15   counsel;

16          (3)       On order of a court of the United States or on request of an attorney for the

17   Government, the person in charge of the correctional facility in which Defendant is confined

18   shall deliver the defendant to a United States Marshal for the purpose of an appearance in

19   connection with a court proceeding; and

20    /

21    /

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23    /

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 1          (4)     The Clerk shall provide copies of this order to all counsel, the United States

 2   Marshal, and to the United States Probation and Pretrial Services Officer.

 3          DATED this 7th day of September, 2018.

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                                                          BRIAN A. TSUCHIDA
 6                                                        Chief United States Magistrate Judge

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